Amy Mitchell, Trustee
P.O. Box 2289
Lake Oswego, OR 97035
(503) 675-9955
(503) 675-9977 fax
mitchelltrustee@comcast.net




                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON



In re
        Elbert Garboden                             Case No. 15-35133-rld7
        Sherry Garboden
                                                    SUPPLEMENTAL CERTIFICATE OF
                                                    SERVICE
Debtors                                             [Re: Trustee’s Motion to Settle and
                                                    Compromise and Order Thereon
                                                    (Doc. 21) and Notice of Hearing (Doc. 21-1)]




        I certify that I have caused the Trustee’s Motion to Settle and Compromise and Order and

Notice Thereon (Doc. 21) and Notice of Telephone Hearing (Doc. 21-1) entered on February 9,

2016, to be served on all remaining potential lienholders of the property subject to the settlement

notice (including lienholders identified on the Debtors’ schedules and the lienholders as listed on

the deeds of trust in the real property records of the respective counties):

                             By Certified Mail [(per FRBP 7004(h)]

Bank of America                                     Citimortgage, Inc.
Brian Moynihan, CEO and President                   Jane Fraser, CEO
100 N. Tryon St.                                    PO Box 6243
Charlotte, NC 28202                                 Sioux Falls, SD 57117




SUPPLEMENTAL CERTIFICATE OF SERVICE – PAGE 1 OF 2

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                 By First Class Mail [(per FRBP 7004(b)(3) or (h)(1)]

Clackamas County Tax Assessor
150 Beavercreek Road
Oregon City, OR 97045




DATED: February 26, 2016

                           _/s/ Amy Mitchell_____________________
                           Amy Mitchell, Trustee




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